     Case 2:21-cv-01001-JS-AKT Document 8 Filed 03/19/21 Page 1 of 3 PageID #: 27
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Ellen Blonder
                            -against-                            Case Number: 21-cv-01001-JS-AKT

Alliant Capital Management LLC
-------------------------------------------------------------X

           NOTICE DESIGNATING CASE FOR COURT ANNEXED ARBITRATION

            This case has been designated to participate in the Court Annexed Arbitration Program
    pursuant to Local Civil Rule 83.7(d) which requires the Clerk of Court to designate and process
    for compulsory arbitration "all civil cases (excluding social security cases, tax matters,
    prisoners' civil rights cases, and any action based on an alleged violation of a right secured by
    the Constitution of the United States or if jurisdiction is based in whole or in part on Title 28
    U.S.C. sec. 1343, wherein money damages only are being sought in an amount not in excess of
    $150,000.00 exclusive of interest and costs." Damages are presumed not to be in excess of the
    arbitration limit unless a certification is filed in accordance with Local Civil Rule 83.7(d)(3).

            An arbitration hearing will be scheduled after the Answer is filed. Counsel will have
    120 days to complete discovery unless the District Court Judge or Magistrate Judge orders a
    shorter or longer period for discovery. It is not anticipated that matters selected for
    Arbitration will require discovery directions. If a dispute arises which requires a ruling on a
    question related to discovery, you must move promptly before the assigned judge. Attorneys
    cannot adjourn or change the arbitration hearing date without approval from the Court.

            In the event a party fails to participate in the arbitration process in a meaningful manner,
    or comply with the rules, herein, the Court may impose appropriate sanctions, including, but not
    limited to, the striking of any demand for a trial de novo filed by that party.

    Requests to extend discovery: must be filed as a motion via ECF.

    Requests to Adjourn an Arbitration Hearing: Must be requested in writing and filed via ECF.

    All correspondence regarding this hearing, including requests to change the date must be
    filed electronically (ECF). Telephone calls to request adjournment of an Arbitration
    hearing will not be considered.

    PRO SE LITIGANTS
    Pro Se litigants are encouraged to contact the Federal Pro Se Legal Assistance Project,
    which is a free service offered by the City Bar Justice Center of the New York City
    Bar Association, and to schedule an appointment at the Brooklyn Federal Courthouse,
    by calling 212-382-4729.
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Ellen Blonder
                            -against-                            Case Number: 21-cv-01001-JS-AKT

Alliant Capital Management LLC
-------------------------------------------------------------X

    PRO SE LITIGANTS

    Pro Se litigants may register to receive electronic notification of court issued filings by
    following the instructions available here:
                https://img.nyed.uscourts.gov/files/forms/ProSeConsElecSvc-Instructions.pdf

               You may refer to the Local Civil Rules for Arbitration of the U.S. District Court,
       Eastern District of New York on our web site:



Dated: 3-11-2021


By: Rita Credle
    ADR Coordinator
     U.S. District Court, EDNY
     225 Cadman Plaza East – Room 215S
     Brooklyn, NY 11201
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     Case 2:21-cv-01001-JS-AKT Document 8 Filed 03/19/21 Page 3 of 3 PageID #: 29
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Ellen Blonder
                            -against-                            Case Number: 21-cv-01001-JS-AKT

Alliant Capital Management LLC
-------------------------------------------------------------X

              NOTICE OF REMOTE ARBITRATION HEARINGS DURING COVID-19


              EDNY arbitrations may be conducted remotely during the Covid-19 Pandemic. The

    Arbitrator will provide the video conferencing platform for the arbitration. EDNY arbitrators

    who are capable of conducting remote arbitrations are listed here:

    https://www.nyed.uscourts.gov/adr/Arbitration/displayAllArb.cfm?geo=&specialtyMult=21

    To raise an objection to proceeding with remote arbitration, please file a letter on the docket,

    addressed to the assigned judge, stating the reasons you do not wish to proceed.


                                 GUIDELINES FOR PARTICIPANTS IN REMOTE ARBITRATION

     Please review the guidelines below for remote arbitration participation:

https://img.nyed.uscourts.gov/files/local_rules/EDNY%20Remote%20Guidelines%20for%20All%20Arbitrat
ion%20Participants%208.25.20.pdf
